Case 3:20-cv-00518-X Document 23-2 Filed 04/28/20   Page 1 of 7 PageID 193




                     EXHIBIT B




                                                                     App-04
Case 3:20-cv-00518-X Document 23-2 Filed 04/28/20   Page 2 of 7 PageID 194




                                                                     App-05
Case 3:20-cv-00518-X Document 23-2 Filed 04/28/20   Page 3 of 7 PageID 195




                                                                     App-06
Case 3:20-cv-00518-X Document 23-2 Filed 04/28/20   Page 4 of 7 PageID 196




                                                                     App-07
Case 3:20-cv-00518-X Document 23-2 Filed 04/28/20   Page 5 of 7 PageID 197




                                                                     App-08
Case 3:20-cv-00518-X Document 23-2 Filed 04/28/20   Page 6 of 7 PageID 198




                                                                     App-09
Case 3:20-cv-00518-X Document 23-2 Filed 04/28/20   Page 7 of 7 PageID 199




                                                                     App-10
